Case 7:21-cr-01772 “CEA Ef 06/06/23 in TXSD Page 1 of 7
AO 91 (Rev. 11/11} Criminal Complaint

UNITED STATES DISTRICT COURT =, vnted States Courts

Southern District of Texas
for the

FILED
Southern District of Texas June 06, 2023
United States of America ) Nathan Ochsner, Clerk of Court
v. )
Hector REYES Jr. (USC) Case No. 7:23-MJ-01045-1
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
i, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 3, 2023 to May 9, 2023 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Cade Section Offense Description
18 USC 1503 Obstruction of Justice

This criminal complaint is based on these facts:

See attached affidavit

Approved By: AUSA Patricia Cook Profit

i Continued on the attached sheet.

/s/ Patrick Zaruba
Complaint authorized by: Complainant's signature

Patrick Zaruba, DEA Special Agent

Printed name and title

Submitted by reliable electronic means, sworn
to and attested to telephonically per Fed. R. Cr.
4.1, and probable cause found on:

Date: June 6, 2023 at 1:13 p.m. Cf. TTT

Jydige's signature

McAllen, Texas J 28tott Hatker, U.S. Magistrate fudge

City and state: {Printed name and title

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ATTACHMENT A

l. Since June 2020, the United States Drug Enforcement Administration (DEA),
Homeland Security Investigations (HSI), United States Border Patrol (USBP), United States Fish
and Wildlife CID, IRS-CID, Federal Bureau of Investigation (FBI), the United States Marshal
Service (USMS) and the Texas Department of Public Safety (DPS) have been investigating a
Transnational Criminal Organization (TCO) that is affiliated with and under the control of the
Cartel Del Golfo (CDG). To date, the investigation has resulted in the seizure of approximately
330 kilograms of methamphetamine, 3500 kilograms of marijuana, 60 kilograms of cocaine, and
over 2.1 million in assets and currency resulting in the federal arrests of over thirty subjects.
Throughout this investigation Agents have utilized an extensive amount of investigative
techniques to include over 38 (thirty-eight) GPS pings, 25 (twenty-five) pen registers, 21
(twenty-one) Title III wire intercepts, confidential sources, cooperating defendant, physical
surveillance, electronic surveillance, GPS tracking devices, and others.

2. On September 7, 2022 a Federal Grand Jury empaneled in the Southern District
returned a True Bill of indictment for several members of the TCO to include Hector REYES Sr.
a/k/a PADRINO. Accordingly, a federal arrest warrant was issued for REYES Sr. for multiple
violations of Title 21 United States Code 846 and Title 21 United States Code 841 as well as
several federal charges related to animal cruelty. On September 15, 2022 Agents arrived at
REYES Sr.’s residence in Mission, Texas in an attempt to take him into custody for his active
warrants. Upon arriving at the residence, Agents made contact with REYES 5r.’s girlfriend,
Liliana RESENDEZ. RESENDEZ informed Agents that REYES Sr. had left the house in the
middle of the night and was in a panic when he departed. Agents informed RESENDEZ of the

active warrants for REYES Sr.’s arrest and further informed her that if she was aiding in his
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flight from custody she would be charged. Several hours later, Deputies with the USMS made
contact with REYES Sr. over the telephone and advised him of his warrants and instructed him
to immediately turn himself in. REYES Sr. stated he was in Miami, Florida and would turn
himself in.

3. USMS were unable to contact REYES Sr. again and later learned that REYES Sr.
had fled to Mexico. From September 2022 to April 2023 the USMS was searching for REYES
Sr. near Monterrey, Mexico after they had developed information that REYES Sr. was hiding in
the area. While conducting surveillance in Mexico, USMS personnel informed DEA personnel
that they believed REYES Sr. was being protected in the Monterrey area. Agents know the
Monterrey, Mexico area to be currently under the control of the CDG.

4, On April 4, 2023 USMS personnel located a video that was posted from Hector
REYES Jr. a/k/a TORITO’s Snapchat1 account. The video depicted multiple handheld radios
transmitting an audio message in the Spanish language. Additionally, along with the audio
recording, Hector REYES Jr. posted a text message along with the video that read “Un mensaje
pa lo que lo andan buscando arriba odifumbo”, This text translates to “A message for those that
are searching up there”. The following is a translation and transcription of the audio from the

snapchat video:

1 Snapchat is a social media platform primarily accessed through user’s cellular telephone
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TRANSCRIPTION TRANSLATION
Le voy a dar chanza pa’ que Iam going to give you the
se reporten a la verga, y se chance to fucking check in
abran. Cualquier problema and stand down. Any problem
que el Padrino a mi me Padrino lets me know of, I
comunique, voy por todos, will go get you all of you sons
hijos de su puta madre... por of bitches... for each of you
cada uno de ustedes, perro, dog, cat, parrot... [U/T] I am
gato, cotorro. [I/I] selo voya going to fucking get him out
sacar a la verga silo vuelvea ([U/I]. So, you guys already
[IA]. Asi que ustedes ya know. I am just giving you
saben. Nomas esto... les estoy this ultimatum so that you
dando este ultimato pa’ que fucking know. Nothing but
sepan ala verga. Puro pinche Gulf Cartel and, and... So that
Cartel del Golfo a la verga y, | you know that Padrino Hector
y pa’ que sepan que mi Reyes has fucking support. So
Padrino Hector Reyes tiene now you know, fucking stand
apoyo a la verga. Asf que down while you still have
ustedes saben, abranse a la time, sons of bitches. So, you
verga porque estan atiempo, already know and this is
hijos de su puta madre. Asi Commander Metro Siete (7),
que ya saben, y Ie saluda el [UA] saying hello fucking
comandante Metro Siete (7) bitches. If you want names,
[1/1] putos a la verga, y si pictures... the government
quieren nombre, fotos alcabo already have pictures anyway,
ya gobierno ya tienen fotos, sons of bitches.
hijos de su puta madre.

5. Throughout this investigation, Agents have learned that the TCO utilizes the same

type of radios that were seen in the video to communicate between TCO members located in

Mexico and TCO members located in the United States. Bases on training and experience,

Agent’s know the TCO utilizes this method of communication in order to thwart the United

States Government’s ability to intercept their communication. Agents believe the intent of

Hector REYES Jr. posting the above referenced video was to further threaten or intimidate any

of the cooperating defendants and/or Government witnesses involved in the prosecution of
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REYES Sr. as well as in an attempt to hinder the Government’s ability to take REYES Sr. into
custody for his active federal arrest warrant.

6. On May 1, 2023 Mexican Immigration authorities located REYES Sr. and
deported him to San Diego, California where he was taken into custody by USMS deputies. On
the same day, Liliana RESENDEZ was arrested as she entered the United States from Mexico in
Mission, Texas. RESENDEZ was arrested for her active federal arrest warrant related to Money
Laundering violations that stemmed from her criminal involvement with REYES Sr.

7. On May 9, 2023 DEA Special Agent (SA) Patrick Zaruba testified at the detention
hearing of RESENDEZ. During his testimony, the transcript of the audio message was submitted
into evidence. Further, SA Zaruba observed REYES Jr. to be seated in the courtroom observing
the testimony. After the hearing, while SA Zaruba was walking from the courthouse to his
Official Government Vehicle (OGV), he observed REYES Jr. and another male, later identified
as Humberto ESTRADA standing near the rear of SA Zaruba’s OGV. As SA Zaruba approached
his vehicle, SA Zaruba observed both REYES Jr. and ESTRADA staring directly at SA Zaruba.
SA Zaruba then entered his OGV and observed both REYES Jr. and ESTRADA still staring at
SA Zaruba. After a short duration of time, REYES Jr. then walked near SA Zaruba’s OGV and
spit toward the OGV. REYES Jr. then entered a vehicle while continuing to stare at SA Zaruba.
ESTRADA and REYES Jr. then departed the parking lot.

8. On May 12, 2023, SA Zaruba and USMS Deputy Franco Quintanilla reviewed the
surveillance video from the courthouse parking lot that depicted the incident mentioned above.
Based on the video, it appears REYES Jr. and ESTRADA were seated in a vehicle until SA
Zaruba neared the parking lot at which time REYES Jr. and ESTRADA exited their vehicle and

stood in the front of their vehicle which was positioned to the rear of SA Zaruba’s OGV while
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SA Zaruba was walking to his OGV. The angle of the surveillance video does not cover the area
of the parking lot that shows the front half of SA Zaruba’s OGV or of REYES Jr’s vehicle which
is where the spitting took place.

9. On May 19, 2023 DEA Agents were reviewing the recorded jail calls of REYES

Sr. and located a call between REYES Sr. and REYES Jr. from May 9, 2023 a few hours after

the detention hearing. During the call, REYES Jr. and REYES Sr. discuss the Snapchat video

and the incident in the courthouse parking lot. See the below portion of the transcription where

they discuss the courthouse and the video:

REYES SR Tell her that, you know... That everything is gonna be okay and that
we’re gonna be okay.

REYES JR And, then, um... Well fuck, to be honest... Oh, when we were leaving...
[Clears throat] Well, because... because we stayed there for a while,
right? Uh, we stayed there talking for a while... Like, all of us out there
in the parking lot.

REYES SR Uh-huh.

REYES JR And the DEA agent came out, and he kept on looking at us. Well, I got
inside Lily’s truck... Hold on dad. [Pause] J get in... I get on, I get on
Lily’s truck and he is in front. I mean, his truck is in front of me...

REYES SR Uh-huh.

REYES JR ...and like, the dude got scared.

REYES SR Why? Why did he get scared?

REYES JR Well, because of the things that, that are said about you, and that you
are over there, and, I mean, because of the stuff that I was telling you
about, right?

REYES SR Uh-huh.

REYES JR And well, the dude got scared. And then... I mean, I left, and he came
after me... and I changed lanes, and he would change lanes.

REYES SR No kidding!

REYES JR Yeah, and then speed up a little bit. I went into a street. I left, and that
was it. That was done with.

REYES SR Fucking stupid, dawg. Like, man, I’m not even what they say that I am,

and man...

REYES JR Oh, and the video, and the video that you sent me, the same thing.

They, they’re... They wanted like, put it like, /ike... like threat to them.
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REYES SR
REYES JR
REYES SR
REYES JR
REYES 5R
REYES JR

REYES SR
REYES JR
REYES SR
REYES JR
REYES SR

REYES JR
REYES SR
REYES JR

REYES SR

REYES JR

10.

You know?

Threat?

Yeah, to, to them and to the people that, that, that snitching and so on.
No kidding,

Yeah.

So?

No, but they don’t have any evidence, right? They only have the
Snapchat evidence.

From Snapchat?

Yeah, the video.

Oh, okay.

Remember you told me to post it and I posted it?

Yeah, yeah, yeah. But [U/I] it was it was fun... Not...

[Voices overlap]

Huh?

Yeah, because it was funny.
Yeah, it was funny. Exactly.
[Voices overlap]

That... That’s all it fucking was, it wasn’t like... It was nothing else,
man and... [Sighs] All right, [UA]
[Voices overlap]

Everything will work out. Don’t worry.

During the above call, REYES Jr. and REYES Sr. discuss the Snapchat video that

was submitted into evidence. REYES Jr. describes the video as the “one you sent me” and “you

told me to post it and I posted it”. Based on all of the above information, Agents believe the

video was posted to threaten and intimidate Government witnesses, and anyone that was

assisting in the apprehension of REYES Sr. in violation of Title 18 United States Code Section

1503 Obstruction of Justice.
